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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND
NORTHERN DIVISION

AMERICAN FEDERATION OF STATE,
COUNTY AND MUNICIPAL
EMPLOYEES, AFL-CIO, et al.,

Plaintiffs,
VS. Civil Action No. 1:25-cv-00596
SOCIAL SECURITY ADMINISTRATION,
et al.,
Defendants.
proresep O71
ORDER

Having considered Plaintiffs’ Agreed Motion for Extension of Time, Plaintiffs’ motion is
/ A pore -
GRANTED, Plaintiffs’ deadline to file their Motion for Preliminary Injunction is extended to

A 4:09 pw. .
Friday, April 4, at6:00 p.m. Defendar cadline-to-f i se HLOppesiientothataetion Colt
if Gxtended-to- Monday; Aprit77at 6:00 p.iil.

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Hon. Ellen Lipton Hollander
United States District Judge

